 Case 1:06-cr-00239-PLM          ECF No. 54, PageID.213         Filed 08/30/07     Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                  _____________________

UNITED STATES OF AMERICA,
                                                            Case No. 1:06-CR-239-02
                Plaintiff,

v.                                                          Hon. Richard Alan Enslen

KENNETH JAMES JOHNSON,
                                                            ORDER
            Defendants.
_____________________________/


          The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

          THEREFORE, IT IS HEREBY ORDERED that:

          1.    The Report and Recommendation of the Magistrate Judge filed March 26, 2007, is

APPROVED AND ADOPTED as the Opinion and Findings of this Court.

          2.    Defendant Kenneth James Johnson’s plea of guilty to Counts One, Five, Six, Seven,

Eight, and Nine of the Indictment is accepted. Defendant Kenneth James Johnson is adjudicated

guilty.

          3.    Defendant Kenneth James Johnson shall be detained pending sentencing.

                                             /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                      RICHARD ALAN ENSLEN
    August 30, 2007                          SENIOR UNITED STATES DISTRICT JUDGE
